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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 UNITED STATES OF AMERICA

      v.                                     Case No. 8:23-cr-25-VMC

 GABRIELLA OROPESA

           STIPULATIONS OF THE PARTIES AT TO AUTHENTICITY


       The United States of America, by Roger B. Handberg, United States Attorney

 for the Middle District of Florida, and Defendant Gabriella Oropesa, through the

 undersigned counsel, hereby enter into the following stipulations of authenticity

 pursuant to Federal Rule of Evidence 901.


    1. Government’s Exhibit 11 is a photograph of the Respect Life Pregnancy Help
       Center in Hollywood, Florida. The parties agree that Government’s Exhibit
       11 is an authentic photograph.

    2. Government’s Exhibit 12 comprises photographs of the Life Choice
       Pregnancy Center in Winter Haven, Florida. The parties agree that
       Government’s Exhibit 12 are authentic photographs.

    3. Government’s Exhibit 13 comprises photographs of the Heartbeat of Miami
       Pregnancy Help Center in Hialeah, Florida. The parties agree that
       Government’s Exhibit 13 are authentic photographs.

    4. Government’s Exhibit 14 is security camera video footage from the Respect
       Life Pregnancy Help Center in Hollywood, Florida. The parties agree that
       Government’s Exhibit 14 is authentic.

    5. Government’s Exhibit 15 is security camera video footage from the Life
       Choice Pregnancy Center in Winter Haven, Florida. The parties agree that
       Government’s Exhibit 15 is authentic.
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    6. Government’s Exhibit 16 is security camera video footage from the Heartbeat
       of Miami Pregnancy Help Center in Hialeah, Florida. The parties agree that
       Government’s Exhibit 16 is authentic.

    7. Government’s Exhibit 26 is a stock photo of the interior of the 2019 Toyota
       C-HR. The parties agree that Government’s Exhibit 26 is authentic.

 The parties reserve the right to object to the admission of any exhibits or portions of

 exhibits on grounds other than authenticity.


 Signed:

 For the United States:                    For the Defendant:

 /s/ Courtney Derry                        /s/ Matthew Farmer
 Courtney Derry                            Matthew P. Farmer, Esq.
 Assistant United States Attorney          Fla. Bar No. 0793469
 Fla. Bar No. 41125                        800 W. De Leon St.
 400 N. Tampa Street, Suite 3200           Tampa, Florida 33606
 Tampa, Florida 33602-4798                 (813) 228-0095
 Telephone: (813) 274-6000                 MattFarmer1@aol.com
 Facsimile: (813) 274-6358                 Counsel for Gabriella Oropesa
 E-mail: Courtney.Derry@usdoj.gov

 /s/ Laura-Kate Bernstein
 Laura-Kate Bernstein
 Trial Attorney
 Maryland Bar No. 1212110224
 950 Pennsylvania Ave. NW
 Washington, DC 20530
 Telephone: (202) 598-3519
 Facsimile: (202) 514-8336
 Laura-Kate.Bernstein2@usdoj.gov




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                             CERTIFICATE OF SERVICE


        I hereby certify that on December 9, 2024, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to the following:


        Matt Farmer, Esq.

                                         /s/ Courtney Derry_____
                                         Courtney Derry
                                         Assistant United States Attorney
                                         Florida Bar No. 41125
                                         400 N. Tampa Street, Suite 3200
                                         Tampa, Florida 33602-4798
                                         Telephone: (813) 274-6000
                                         Facsimile: (813) 274-6358
                                         E-mail: Courtney.Derry@usdoj.gov




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